        Case 1:24-cv-06563-LJL            Document 34    Filed 10/03/24       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,
                      Plaintiffs,                           Case No. 24-cv-06563-LJL
          v.

RUDOLPH W. GIULIANI,
                                   Defendant.


               MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS

       Pursuant to Local Civil Rule 1.4, the undersigned counsel respectfully seeks leave to

withdraw as Attorney of Record for Plaintiffs Ms. Ruby Freeman and Ms. Wandrea’ Moss. I will

begin new employment after October 4, 2024, and therefore can no longer represent Plaintiffs.

Plaintiffs will continue to be represented by all attorneys for Plaintiffs entered in this case,

including John Langford and Rachel Goodman from United to Protect Democracy. I certify that

Plaintiffs have been given reasonable notice of my withdrawal of appearance in this case. I am not

asserting a retaining or charging lien.


Dated: October 3, 2024                              Respectfully submitted,

                                                    /s/ Christine Kwon______________
                                                    Christine Kwon (pro hac vice)
                                                    United to Protect Democracy
                                                    2020 Pennsylvania Avenue, N.W.
                                                    Suite #163
                                                    Washington, DC 20006
                                                    Telephone: (202) 579-4582
                                                    Facsimile: (202) 769-3176
                                                    christine.kwon@protectdemocracy.org

                                                    Counsel to Ms. Ruby Freeman and
                                                    Ms. Wandrea’ Moss
        Case 1:24-cv-06563-LJL         Document 34        Filed 10/03/24     Page 2 of 2




                                CERTIFICATE OF SERVICE

I hereby certify that on October 3, 2024, I electronically filed the foregoing with the Court using

the CM/ECF system, which shall serve as notice of filing to all counsel of record.



                                                     /s/ Christine Kwon______________




                                               -2-
